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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                           §
In re:                                                     §            Chapter 11
EMAS CHIYODA SUBSEA LIMITED,                               §
et al.                                                     §            Case No. 17-31146 (MI)
                 Debtors.1                                 §
                                                           §            (Joint Administration Pending)

    NOTICE OF PERFECTION OF MARITIME LIEN PURSUANT TO SECTION 546(b)

         Keppel Shipyard Limited (“Keppel”) hereby gives notice pursuant to 11 U.S.C. § 546(b)

of the perfection of its maritime lien under 46 U.S.C. § 31342.

         Keppel is a secured creditor by virtue of a general maritime lien under 46 U.S.C. §31342

and asserts an in rem secured claim in the amount of $426,768.60, plus interest and attorneys’ fees.

This represents unpaid amounts due and owing for the provision of necessaries to the M/V LEWEK

CONSTELLATION, in the form of various services provided in 2016, such as the following:

         1. quayside services to support work on the vessels;
         2. fresh water supply to vessel;
         3. cooling water lines supply;
         4. garbage and refuse removal;
         5. asbestos sanitation;
         6. sea chest deaeration pipes;
         7. sea valves overhauling;
         8. hull and WBT cleaning;
         9. sea chest cleaning;
         10. hull markings;
         11. SB mooring platform repairs;

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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number
     and jurisdiction of formation are as follows: EMAS CHIYODA Subsea Limited (UK) (3187); EMAS Chiyoda
     Subsea Inc. (Delaware) (7884); EMAS CHIYODA Subsea Marine Base LLC (Texas) (5974); Lewek Falcon
     Shipping Pte. Ltd. (Singapore) (041E); EMAS CHIYODA Marine Base Holding Co., LLC (Texas) (7463);
     EMAS Chiyoda Subsea Services Pte. Ltd. (Singapore) (333Z); EMAS-AMC Pte. Ltd. (Singapore) (0442);
     EMAS Saudi Arabia Ltd. (Saudi Arabia) (0669); Lewek Constellation Pte. Ltd. (Singapore) (376E); EMAS
     CHIYODA ROV Pte. Ltd. (Singapore) (049M); EMAS CHIYODA Subsea Services B.V. (Netherlands) (4073);
     EMAS CHIYODA Subsea Services (UK) Limited (Scotland) (3187); EMAS CHIYODA Subsea Services LLC
     (Delaware) (1728); EMAS CHIYODA Subsea (Thailand) Co., Ltd. (Thailand) (1011); Gallatin Marine
     Management, LLC (Delaware) (8989). The address of the Debtors’ U.S. headquarters is 825 Town & Country
     Ln, Suite 1500, Houston, TX 77024.


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         12. wooden fendering work;
         13. anti-fouling paint work;
         14. bilge holding tank cleaning;
         15. thrusters inspection / service;
         16. PHC module support fabrication and installation;
         17. moonpool bellmouth assembly; and
         18. engine room tanktop/bilge cleaning work.

         The claim is set forth in further detail in Keppel’s Proof of Claim (Claim # 315). These

services qualify as “necessaries” and establish that Keppel is a maritime lienholder against the

M/V LEWEK CONSTELLATION. 46 U.S.C. §§ 31301(4), 31342. A maritime lien “is a special

property right in the vessel, arising in favor of the creditor by operation of law as security for a

debt or claim.” Equilease Corp. v. M/V SAMPSON, 793 F.2d 598, 602 (5th Cir. 1986) (citations

omitted). The lien attaches and is perfected when the underlying debt or claim arises. See id. at

603. “Thus the maritime lien may be defined as a property right that adheres to the vessel

wherever it may go.” Id. at 602.

         Keppel reserves the right to supplement and/or amend this notice. Keppel further reserves

all rights under applicable law.




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Dated: May 19, 2017                       Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of May, 2017, a true and correct copy of the foregoing was
served pursuant to the Federal Rules of Bankruptcy Procedure via the CM/ECF Filing System to all
counsel of record.



                                                       /s/ Keith Uhles
                                                       Keith Uhles




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